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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)
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Counsel to the Liquidation Trustee
                                                                    Case No.: 20-18445 (JKS)
In re:
                                                                    Chapter 11
RTW RETAILWINDS, INC.,1
                                                                    Judge: Hon. John K. Sherwood
                                    Debtor.




1 The remaining Debtor in this chapter 11 case and the last four digits of the Debtor’s federal tax identification
number is RTW Retailwinds, Inc. (1445). By order and final decree entered February 22, 2021, the chapter 11
cases of the Debtor’s affiliates were closed [Docket No. 844].




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META Advisors LLC, in its capacity as Liquidation
Trustee of the RTW Liquidation Trust,                  Adv. Proc. No. 22- 01171       (JKS)

                         Plaintiff,

v.

LINK FASHION NEW YORK INC.
                  Defendant.


                                 CERTIFICATE OF SERVICE

 I, Michael A. Matteo:

 1.
        □ represent the                          in this matter.
         am the secretary/paralegal for Pachulski Stang Ziehl & Jones LLP, who represents
        The Liquidation Trustee in this matter.
        □ am the                                         in this matter am representing myself.

 2.     On June 27, 2022, I caused copies of the following pleadings and/or documents to the
        parties listed in the chart attached COMPLAINT; SUMMONS AND NOTICE OF
        PRETRIAL CONFERENCE IN AN ADVERSARY PROCEEDING; COURT
        INSTRUCTIONS; PROPOSED JOINT ORDER SCHEDULING PRETRIAL
        PROCEEDINGS AND TRIAL AND MEDIATION ORDER

 4.     I certify under penalty of perjury that the above documents were sent using the mode of
        service indicated.

 Date: June 27, 2022                                 /s/ Michael A. Matteo
                                                     Michael A. Matteo




                                                 2
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 Name and Address of Party Served      Relationship of                 Mode of Service
                                      Party to the Case
LINK FASHION NEW YORK INC.          DEFENDANT                Hand-delivered
ATTN: ZHI BIN GUO, CEO
                                                             Regular mail
214 W. 39TH STREET, STE. 802
NEW YORK, NY 10018                                           Certified mail/RR
                                                             Other
                                                             (As authorized by the Court or by rule. Cite
                                                          the rule if applicable.)




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